     Case 4:95-cr-00142 Document 5690 Filed on 09/27/06 in TXSD Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                  }
              Plaintiff-Respondent         }
                                           }
v.                                         }      CRIMINAL ACTION NO. H-95-142-43
                                           }      CIVIL ACTION NO. H-03-3861
FEDERICO PEREZ, JR.,                       }
              Defendant-Petitioner         }


                              MEMORANDUM AND ORDER

       Presently before the Court are Petitioner Federico Perez Jr.’s “Motion to Eliminate

Enhancements and Reduce Sentence” (Doc. 5574 & 5590); the Government’s response and motion

to dismiss (Doc. 5664); Petitioner’s reply (Doc. 5670); and the Magistrate Judge’s Memorandum

and Recommendation (Doc. 5668). After carefully considering the record and the applicable law,

the Court concludes that the Government’s motion to dismiss should be GRANTED and that

Petitioner’s “Motion to Eliminate Enhancements and Reduce Sentence” should be DISMISSED

WITHOUT PREJUDICE.             The Court adopts the Magistrate Judge’s Memorandum and

Recommendation in full.

       SIGNED at Houston, Texas, this 27th day of September, 2006.




                                                  ______________________________________
                                                           MELINDA HARMON
                                                    UNITED STATES DISTRICT JUDGE
